                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                          NO. 5:18-CR-452-1-FL

UNITED STATES OF AMERICA,               )
                                        )
                                        )
                  v.                    )       ORDER
                                        )
LEONID ISAAKOVICH TEYF,                 )
    Defendant.                          )

      Upon the motion of the United States, by and through the United States

Attorney for the Eastern District of North Carolina, and with consent of counsel for

defendant, and for good cause shown, it is hereby ORDERED that:

      the Court will consider the motion at D.E. 518 in two parts; first, as it relates

to Counts 27 through 29, the subject of the scheduled May 18, 2020 trial, and second,

as it relates to the remaining counts for trials as yet unscheduled. The filing of the

United States at D.E. 559 is accepted as the response to the first portion to be

considered by the Court. Remaining deadlines are set forth below.

      The defendant’s motion in limine at D.E. 518 requested the opportunity to

file later motions in limine once it received the government’s exhibit list. D.E. 518

at 1, n.1. The Court is informed the defendant now has the government’s list of

exhibits and witnesses for the trial to be had on Counts 27 – 29, and the matter is

ripe for any additional motions regarding that evidence. Therefore, the defendant

has until April 17, 2020, to file all motions in limine pertaining to the trial now set

for May 18, 2020. By May 1, 2020, the government should file any desired response

to those motion(s) in limine.




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      Additionally, as the trial date is not currently set for the remaining counts,

deadlines as to the remaining portion of D.E. 518 and any further motions in limine

will be set by later Order. It is anticipated that the government will need provide

its exhibit and witness lists to the defendant approximately 45 days out from the

Court’s expectation of that trial date; that defendant will have two weeks within

which to file any motion in limine pertaining to the proposed exhibits, and the

government will be required to file a response to the outstanding portion of D.E. 518

as well as to any further motions filed within ten days thereafter.

      So ORDERED this 9th day of April, 2020.




                                       _______________________________
                                       LOUISE W. FLANAGAN
                                       United States District Judge




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